780 F.2d 1020
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.(The decision of the Court is referenced in a "Table of Decisions Without Reported Opinions" appearing in the Federal Reporter.)GEORGE BERGMAN, Plaintiff-Appellantvs.UNITED STATES OF AMERICA, ET AL., Defendants-Appellees.
    84-1689
    United States Court of Appeals, Sixth Circuit.
    11/22/85
    AFFIRMED
    
      1
      E.D.Mich.
    
    ORDER
    
      2
      BEFORE:  MERRITT and MARTIN, Circuit Judges; JOHNSTONE, District Judge.
    
    
      3
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      4
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    
      5
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        *  The Honorable Edward H. Johnstone, United States District Judge, Western District of Kentucky, sitting by designation.
      
    
    